                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                               No. 7:24-cv-00102

IN RE: CAMP LEJEUNE
WATER LITIGATION

Craig Robert Lockhart v. United States of America /

THIS DOCUMENT RELATES TO:                                       JURY TRIAL DEMANDED

CRAIG ROBERT LOCKHART

                                 SHORT-FORM COMPLAINT

       The Plaintiff named below, or Plaintiff’s representative, files this Short Form Complaint

against Defendant United States of America under the Camp LeJeune Justice Act of 2022

(“CLJA”). Pub. L. No. 117-168, § 804, 136 Stat. 1802, 1802-04 (2022). Plaintiff or Plaintiff’s

representative incorporates by reference the allegations contained in the Master Complaint (DE

25) on file in the case styled In Re: Camp Lejeune Water Litigation, Case No. 7:23-cv-897, in the

United States District Court for the Eastern District of North Carolina. Plaintiff or Plaintiff’s

representative files this Short-Form Complaint as permitted by Pretrial Order No. 2.

       Plaintiff or Plaintiff’s representative alleges as follows:

                                       I. INSTRUCTIONS

 1. On THIS FORM, are you asserting a claim           This form may only be used to file a complaint
 for injuries to YOU or to SOMEONE ELSE               for ONE PERSON’S injuries. If you intent to
 you legally represent?                               bring claims for multiple individuals’ injuries-
  To me                                              for ex. a claim for yourself and one for a
  Someone else                                       deceased spouse, you must file ONE FORM
                                                      FOR EACH INJURED PERSON.

                               II. PLAINTIFF INFORMATION

If you checked “To me” in Box 1, YOU are the Plaintiff. Complete this section with information
about YOU.




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If you checked “Someone else” in Box 1, THAT PERSON is the Plaintiff. Complete this section
with information about THAT PERSON.

 2. First name:           3. Middle name:             4. Last name:             5. Suffix
 Craig                    Robert                      Lockhart
 6. Sex:                                              7. Is the Plaintiff deceased?
  Male                                                Yes
  Female                                              No
  Other
                                                      If you checked “To me” in Box 1, check “No” here.
 Skip (8) and (9) if you checked “Yes” in Box 7.
 8. Residence city:                               9. Residence state:
 Flower Mound                                     Texas
 Skip (10), (11), and (12) if you checked “No” in Box 7.
 10. Date of Plaintiff’s 11. Plaintiff’s          12. Was the Plaintiff’s death caused by an
 death:                   residence state at the injury that resulted from their exposure to
                          time of their death:    contaminated water at Camp Lejeune?
                                                   Yes
                                                   No

                               III. EXPOSURE INFORMATION

If you checked “To me” in Box 1, complete this section with information about YOU.

If you checked “Someone else” in Box 1, complete this section with information about THAT
PERSON.

 13. Plaintiff’s first month of exposure to the    14. Plaintiff’s last month of exposure to the
 water at Camp Lejeune:                            water at Camp Lejeune:
 November 1981                                     August 1984
 15. Estimated total months of exposure:           16. Plaintiff’s status at the time(s) of exposure
 3 months                                          (please check all that apply):
                                                    Member of the Armed Services
                                                    Civilian (includes in utero exposure)
 17. If you checked Civilian in Box 16, check 18. Did Plaintiff at any time live or work in any
 all that describe the Plaintiff at the time(s) of of the following areas? Check all that apply.
 exposure:                                          Berkeley Manor
  Civilian Military Dependent                      Hadnot Point
  Civilian Employee of Private Company             Hospital Point
  Civil Service Employee                           Knox Trailer Park
  In Utero/Not Yet Born                            Mainside Barracks
  Other                                            Midway Park
                                                    Paradise Point
                                                    Tarawa Terrace
                                                    None of the above
                                                    Unknown


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                                  IV. INJURY INFORMATION

If you checked “To me” in Box 1, complete this section with information about YOU.

If you checked “Someone else” in Box 1, complete this section with information about THAT
PERSON.

19. Identify the illnesses or conditions the Plaintiff suffered as a result of exposure to contaminated
water at Camp Lejeune.

 Injury                                                             Approximate date of onset
  Adverse birth outcomes (Plaintiff is the PARENT of an individual
 who died in utero or was stillborn or born prematurely)
  ALS (Lou Gehrig’s Disease)
  Aplastic anemia or myelodysplastic syndrome
  Bile duct cancer
  Bladder cancer
  Brain / central nervous system cancer
  Breast cancer
  Cardiac birth defects (Plaintiff was BORN WITH the defects)
  Cervical cancer
  Colorectal cancer
  Esophageal cancer
  Gallbladder cancer
  Hepatic steatosis (Fatty Liver Disease)
  Hypersensitivity skin disorder
  Infertility
  Intestinal cancer
  Kidney cancer
  Non-cancer kidney disease
  Leukemia
  Liver cancer
  Lung cancer
  Multiple myeloma
  Neurobehavioral effects
  Non-cardiac birth defects (Plaintiff was BORN WITH the defects)
  Non-Hodgkin’s Lymphoma                                            02/16/2022
  Ovarian cancer
  Pancreatic cancer
  Parkinson’s disease
  Prostate cancer
  Sinus cancer
  Soft tissue cancer
  Systemic sclerosis / scleroderma
  Thyroid cancer


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 The Camp Lejeune Justice Act does not specify a list of covered conditions

 If the Plaintiff suffers or previously suffered from a condition not listed above, and the Plaintiff
 alleges that the condition was caused by exposure to the water at Camp Lejeune as required under
 the Act, please check “Other” and describe the condition on the following lines.

 Note in particular that the Board of Veterans’ Appeals of the U.S. Department of Veterans Affairs
 (the “VA”) has approved benefits in connection with Camp Lejeune for conditions beyond those
 listed above.

  Other:                                                                   Approximate date of onset
 Skin Lesions with Skin Cancer Diagnosis                                  04/14/2022
 Anemia                                                                   01/07/2022




                           V. REPRESENTATIVE INFORMATION

If you checked “To me” in Box 1, SKIP THIS SECTION and proceed to section VI.
(“Exhaustion”).

If you checked “Someone else” in Box 1, complete this section with information about YOU.

 20. Representative       21. Representative         22. Representative        23. Representative
 First Name:              Middle Name:               Last Name:                Suffix:

 24. Residence City:                                 25. Residence State:

                                                      Outside of the U.S.

 26. Representative Sex:
  Male
  Female
  Other
 27. What is your familial relationship to the Plaintiff:
  They are/were my spouse.
  They are/were my parent.
  They are/were my child.
  The are/were my sibling.
  Other familial relationship: They are/were my __________________
  No familial relationship.
 Derivative claim
 28. Did the Plaintiff’s death or injury cause the Plaintiff’s spouse, children, or parents mental
 anguish, loss of financial support, loss of consortium, or any other economic or non-economic
 harm for which you intend to seek recovery?


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  Yes
  No

                                      VI. EXHAUSTION

 29. On what date was the administrative claim 30. What is the DON Claim Number for the
 for this Plaintiff filed with the Department of administrative claim?
 the Navy (DON)?
                                                 ___________________
 07/31/2023
                                                  DON has not yest assigned a Claim
                                                 Number


                                  VII. CLAIM FOR RELIEF

       Plaintiff respectfully requests that pursuant to subsection 804(b) of the CLJA the Court

enter judgment against the Defendant and award damages and all other appropriate relief for the

harm to Plaintiff that was caused by exposure to the water at Camp Lejeune.

                                VIII. JURY TRIAL DEMAND

       Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure and subsection 804(d) of the CLJA.

Dated: February 20, 2024



/s/ Shreedhar R. Patel                                       /s/ Janet Ward Black
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                                                             Local Civil Rule 831. (d)
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